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 4
     Attorney for Defendant
 5   DANNY HUNG LEUNG
 6
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,                     )
                                                   )
12                         Plaintiff,              )       Cr. No. S-96-350 WBS
                                                   )
13                                                 )       STIPULATION AND ORDER
                    v.                             )       CONTINUING THE HEARING
14                                                 )       DATE RE: DEFENDANT LEUNG’S
                                                   )       MOTION FOR DISCOVERY
15   HUY CHI LUONG, et al.,                        )
                                                   )
16                         Defendants.             )
                                                   )
17
            The United States of America, through Assistant U.S. Attorney William S. Wong, defendant
18
     Danny Hung Leung, through his counsel Scott L. Tedmon, and defendant Hui Chi Luong, through
19
     his counsel John Balazs hereby stipulate and agree as follows:
20
            1. The current hearing date for defendant Leung’s motion for discovery is set for June 22,
21
     2006 at 10:00 a.m before Magistrate Judge Kimberly J. Mueller.
22
            2. The parties stipulate and agree the hearing date for defendant Leung’s motion for
23
     discovery this matter be continued to July 31, 2006 at 2:00 p.m before Magistrate Judge Mueller.
24
            3. If all discovery matters are resolved one week prior to July 31, 2006, counsel will notify
25
     the Court and request that the motion be taken off calendar.
26
            4. Scott L. Tedmon has been authorized by all counsel to sign this stipulation on their behalf.
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28

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 1   IT IS SO STIPULATED.
 2
 3   DATED: June 20, 2006                          McGREGOR W. SCOTT
                                                   United States Attorney
 4
                                                    /s/ William S. Wong
 5                                                 WILLIAM S. WONG
                                                   Assistant U.S. Attorney
 6
     DATED: June 20, 2006                          LAW OFFICE OF SCOTT L. TEDMON
 7
                                                    /s/ Scott L. Tedmon
 8                                                 SCOTT L. TEDMON
                                                   Attorney for Danny Hung Leung
 9
     DATED: June 20, 2006                          LAW OFFICE OF JOHN BALAZS
10
                                                     /s/ John Balazs
11                                                 JOHN BALAZS
                                                   Attorney for Hui Chi Luong
12
13
14
15                                                ORDER
16          GOOD CAUSE APPEARING and based on the stipulation of counsel, IT IS ORDERED that
17   the hearing on defendant Leung’s motion for discovery1 is continued to July 31, 2006, at 2:00 p.m
18   before Magistrate Judge Kimberly J. Mueller.
19          IT IS FURTHER ORDERED that counsel are to notify the Court at least one week prior to
20   July 31, 2006 of the discovery issues that remain unresolved at that time, if any.
21          IT IS SO ORDERED.
22   DATED: June 21, 2006.
23
24                                           ______________________________________
                                             UNITED STATES MAGISTRATE JUDGE
25
26
27
            1
                 This order does not continue the hearing currently set on defendants’ motion for a bill
28   of particulars.

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